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       Robert B. Hammond, Janet K. Cooper,
  12   Rick Kornfeld, and Thomas R. Joseph
  13
  14                        UNITED STATES DISTRICT COURT
  15                      CENTRAL DISTRICT OF CALIFORNIA
  16                               WESTERN DIVISION
  17   LISA DOYLE, DERIVATIVELY AND              Case No. 15-CV-07568-SJO (MRWx)
       ON BEHALF OF RESONANT, INC.,
  18
                   Plaintiff,
  19
                   v.                            ORDER EXTENDING STAY OF
  20                                             PROCEEDINGS
  21   TERRY LINGREN, JOHN E. MAJOR,
  22   ROBERT B. HAMMOND, JANET K.
                                                 The Honorable S. James Otero
       COOPER, RICK KORNFELD, and
  23   THOMAS R. JOSEPH,
  24                      Defendants,
  25                      and
  26   RESONANT INC.,
  27                      Nominal Defendant.
  28
                                                         [PROPOSED] ORDER EXTENDING STAY OF PROCEEDINGS
                                                                      CASE NO. 15-CV-07568-SJO (MRWX)
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   1                                          ORDER
   2           Upon review of the parties’ Stipulation to Extend Stay of Proceedings, and
   3   for good cause shown,
   4           IT IS HEREBY ORDERED AS FOLLOWS:
   5           1.    The current stay of proceedings in this action (the “Derivative
   6   Action”) shall remain in effect.
   7           2.    Defendants shall not be required to move, answer, plead or otherwise
   8   respond to the Complaint (or any amended complaint) during the pendency of the
   9   stay.
  10           3.    In the event that Defendants during the pendency of the stay produce
  11   any discovery (defined below) to the plaintiffs in Case No. 15-cv-01970-SJO
  12   (VBKx), In re Resonant Inc. Sec. Litig. (the “Securities Class Action”), in any other
  13   shareholder derivative action alleging substantially the same facts and claims as
  14   those in the Derivative Action (“New Derivative Action”) or in any action or
  15   demand brought against Resonant pursuant to 8 Del C. §220 to compel inspection
  16   of books and records that are substantially related to the facts and claims at issue in
  17   the Derivative Action (“Books and Records Action”), Defendants shall produce to
  18   Plaintiff in the Derivative Action copies of that discovery in the form and manner in
  19   which such discovery is produced to plaintiffs in the Securities Class Action, the
  20   New Derivative Action or the Books and Records Action, provided that Plaintiff
  21   agrees to enter into and be bound by a protective order or confidentiality agreement
  22   that is substantially similar to any protective order or confidentiality agreement
  23   entered in the Securities Class Action, the New Derivative Action or the Books and
  24   Records Action, and Plaintiff agrees to pay the reasonable costs of printing and
  25   postage incurred in producing the additional copy of the discovery in the event such
  26   discovery was not produced in an electronic format, provided that Plaintiff is not
  27   responsible for the costs of any professional fees and services incurred in producing
  28   the additional copy of such discovery. For purposes of this agreement, “Discovery”
                                                              [PROPOSED] ORDER EXTENDING STAY OF PROCEEDINGS
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   1   is defined to include all documents produced by Defendants in the Securities Class
   2   Action, New Derivative Action or Books and Records Action; all formal responses
   3   by any of the Defendants to interrogatories, requests for production, or requests for
   4   admission in such action(s); and true and correct copies of all transcripts and
   5   exhibits for any deposition taken of any Defendant, including employees of the
   6   Company, in such action(s).
   7         4.     Notwithstanding a stay of this action, Plaintiff is permitted to file an
   8   amended complaint.
   9         5.     The status conference set for August 29, 2016 is continued to
  10   September 12, 2016 at 8:30 a.m.
  11         6.     Within 21 days following the Court’s decision on the pending Motion
  12   to Certify in the Securities Class Action, the Parties will submit a status report or
  13   stipulation containing their views as to whether the stay should be further extended
  14   pending additional developments in the Securities Class Action.
  15         IT IS SO ORDERED.
  16
  17
                    August 17, 2016
  18   DATED:
                                                    HON. S. JAMES OTERO
  19                                           UNITED STATES DISTRICT JUDGE
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                                                              [PROPOSED] ORDER EXTENDING STAY OF PROCEEDINGS
                                                 -2-                       CASE NO. 15-CV-07568-SJO (MRWX)
